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                     IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MONTANA
                                      BUTTE DIVISION
---------------------------------------------------------------------------------------------------
 STEVEN S. SCHUMAN, JR. ,                         )
                                                  ) Cause No. CV-21-00018-BMM-JTJ
                        Plaintiff,                )
                                                  )
         -vs.-                                    ) ORDER EXTENDING TIME FOR
                                                  ) DEFENDANT TO FILE ANSWER
 CONTINENTAL WESTERN                              )
 INSURANCE COMPANY,                               )
                                                  )
                        Defendant.                )
---------------------------------------------------------------------------------------------------
       Pursuant to Defendant Continental Western Insurance Company's motion
for extension of time to file its answer, no objection being made by counsel for
Plaintiff herein, and good cause appearing therefor,
       IT IS HEREBY ORDERED that Defendant Continental Western Insurance
Company shall have to and including Wednesday, July 7, 2021, within which to
file its answer to the Plaintiff's Complaint.
       DATED this 7th day of June, 2021.




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